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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                           :
                                                    :   CRIMINAL NO. 23-441 (RC)
                v.                                  :
                                                    :
 JORGE AUGUSTO SOLARES RUANO,                       :
    also known as “Pelon,”                          :
                                                    :
                          Defendant.                :
                                                    :

  GOVERNMENT NOTICE OF INTENT TO CALL EXPERT WITNESSES AT TRIAL

       Pursuant to Federal Rule of Criminal Procedure 16(a)(1)(G), the United States hereby gives

notice of its intent to call the following expert witnesses at trial: Drug Enforcement Administration

(“DEA”) Special Agent (“SA”) Matthew Stewart, Department of Justice Linguist Judi O’Brien,

and National Institute of Forensic Science of Guatemala (“INACIF”) Scientific Technician Erasmo

Abigail Chen Gonzalez. Trial is currently scheduled to begin October 15, 2024. A summary of

each expert witness’s testimony, the witness’s qualifications, and a list of any other case in which

the expert witness has testified as an expert at trial or by deposition is provided below.

       DEA SA Matthew Stewart

       DEA SA Matthew Stewart will be qualified as an expert to testify about the ways, means,

and methods of Drug Trafficking Organizations (“DTO”) in Guatemala. SA Stewart joined the

United States Marine Corps in 2001 and was honorably discharged in 2007. While serving, he

graduated from The University of Northern Colorado with a Bachelor of Science in Business

Administration Finance. He has been employed at the DEA since 2007. Following Basic Agent

Training, SA Stewart was assigned to the Los Angeles Field Division office. His focus was

domestic narcotics trafficking. From 2011 until 2016, SA Stewart was assigned to the DEA

Foreign Operation Unit, based out of Quantico, Virginia. He then spent five years working, at first,
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as a Special Agent, and, then later, as the DEA Acting Country Attache, in Guatemala. During his

tour in Guatemala, SA Stewart participated in numerous investigations of international narcotics

trafficking, including but not limited to surveillance, recruiting confidential sources and

cooperators, interviewing witnesses and targets, narcotics interdictions, liaising with Guatemalan

law enforcement, and acting as a representative on behalf of the United States Government in

meetings with Guatemalan counterparts.

       SA Stewart will testify about how Guatemalan DTOs work. He will explain how narcotics

are imported to and exported from Guatemala, including the ways, routes, modes, and methods of

transportation. SA Stewarts’ curriculum vitae and summary of testimony are attached to this

Notice as Attachment A.

       Judi O’Brien

       Ms. O’Brien will be qualified as an expert linguist in Spanish and will testify as to the

accuracy of the translations of exhibits to be introduced at trial. Ms. O’Brien has an undergraduate

degree from St. Mary’s College of Maryland with a minor in Spanish and Latin American Studies

and completed coursework towards a Master of Arts program from 1992 to 1995 at the Universidad

de Costa Rica in San Jose, Costa Rica. Ms. O’Brien holds a Master of Arts in Spanish and Latin

American Studies from American University (2016). Ms. O’Brien has approximately 20 years of

experience as a Spanish language translator and interpreter. She is certified by the American

Translator’s Association for Spanish to English translation. From 2010 to the present, she has been

employed as a translator and language services coordinator with the Narcotic and Dangerous Drug

Section, Criminal Division, U.S. Department of Justice. Ms. O’Brien has been qualified as an

expert linguist in Spanish and testified in that capacity on multiple occasions. Ms. O’Brien will

testify that she read documents in Spanish and translated the documents, or portions of the
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documents, to English. She will also testify that she reviewed translations prepared by other

translators for accuracy.

       Ms. O’Brien provided testimony in United States v. Cesar Gomez Almonte, 19-CR-224

(TJK) (D.D.C). In Gomez Almonte, Ms. O’Brien was qualified as an expert linguist in Spanish

capable of completing accurate Spanish-to-English translations.

       Ms. O’Brien will testify that each respective English translation is a true and accurate

translation of the Spanish document or electronic written communication. Ms. O’Brien also will

testify that she listened to recorded audio materials in Spanish and transcribed the audio material,

or portions of the material, in Spanish and then translated the original Spanish into English. She

will testify that she reviewed transcribed material, and their corresponding translations into English

prepared by others, for accuracy. Ms. O’Brien will testify that each English translation is a true

and accurate translation of the recorded audio material in Spanish. Ms. O’Brien’s curriculum vitae

and summary of testimony are attached to this Notice as Attachment B.

       Scientific Technician Erasmo Abigail Chen Gonzalez

       Scientific Technician Erasmo Abigail Chen Gonzalez will be qualified as an expert with

the INACIF as a Chief Expert of the Controlled Substances Laboratory and will testify about his

forensic analysis of the controlled substance seized by Guatemalan authorities on April 1, 2019.

Mr. Gonzalez graduated from the Colegio Particular Mixto Tezulutlan (Salamá, Guatemala) with

a Bachelor of Science and Letters (1991). Mr. Gonzalez then earned his license in chemical

pharmacology (1998) from the Universidad de San Carlos de Guatemala (Guatemala City,

Guatemala) and completed his doctorate (2005) in criminological sciences and criminalistics from

the Universidad Mariano Galvez de Guatemala (Guatemala City, Guatemala). He has been

employed as a Scientific Technician with INACIF since 2007. Prior to his employment with
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INACIF, he was employed by the Guatemalan Public Ministry as a laboratory coordinator for the

Controlled Substances Laboratory from February 2000 until July 2007. His current duties include

analyzing evidence for the presence of controlled substances and testifying as to the results of his

analysis in court. He has received extensive training in the area of testing for controlled substances.

He will testify that he received evidence from analysis and incineration number 620-2019, case

number 0910-2019-00194, that was seized by Guatemalan authorities on a road between Port Ocos

and Tecun Uman, Guatemala, on April 1, 2019, which he tested for the presence of a controlled

substance. He concluded that the 933 packages seized, having a total aggregate weight of 1,111

kilograms, tested positive for the presence of cocaine. Scientific Technician Chen Gonzalez’s

curriculum vitae and summary of testimony are attached to this Notice as Attachment C.

       The Government reserves the right to supplement or amend its notice of intent to call expert

witnesses in the above-captioned case and reserves the right to call rebuttal experts at trial.

Dated: Tuesday, August 27, 2024

                                                       Respectfully Submitted,

                                                       MARLON COBAR, Chief
                                                       Narcotics and Dangerous Drug Section
                                                       Criminal Division
                                                       United States Department of Justice


                                                By:    /s/ Josh Katcher
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                               CERTIFICATE OF SERVICE

        I hereby certify that a copy of the foregoing was sent via the CM/ECF system to counsel
of record for the Defendant on Tuesday, August 27, 2024.


                                           By:     /s/ Josh Katcher
                                                   Josh Katcher
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